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                                                                       1   ALVERSON TAYLOR & SANDERS
                                                                           KURT R. BONDS, ESQ.
                                                                       2   Nevada Bar No. 6228
                                                                       3   6605 GRAND MONTECITO PARKWAY
                                                                           SUITE 200
                                                                       4   LAS VEGAS, NEVADA 89149
                                                                           (702) 384-7000
                                                                       5   efile@alversontaylor.com
                                                                           Attorney for Plaintiff
                                                                       6

                                                                       7                                  UNITED STATES DISTRICT COURT

                                                                       8                                         DISTRICT OF NEVADA
                                                                                                                         ***
                                                                       9
                                                                           JULIE ZALOGA, an individual;                             CASE NO.:
                                                                      10

                                                                      11          Plaintiff,
                                                                           vs.                                                      COMPLAINT
                                                                      12                                                            (Jury Trial Demanded)
ALVERSON TAYLOR & SANDERS
                            6605 GRAND MONTECITO PARKWAY, SUITE 200




                                                                           DIAMOND RESORTS HOLDINGS, LLC, a
                                                                      13   domestic limited liability company,
                                                                      14
                                       LAS VEGAS, NV 89149




                                                                                  Defendant.
                                          (702) 384-7000
                                            LAWYERS




                                                                      15

                                                                      16          Plaintiff, Julie Zaloga (“Plaintiff”), by and through her attorney of record, Kurt R. Bonds,
                                                                      17   Esq. of the law firm of Alverson Taylor & Sanders, and for her claims of relief against
                                                                      18
                                                                           Defendant, Diamond Resorts Holdings, LLC (“Defendant”), hereby complains and alleges as
                                                                      19
                                                                           follows:
                                                                      20
                                                                                                             JURISDICTION AND VENUE
                                                                      21

                                                                      22          1.        This action arises out of Defendant’s violations of Title VII of the Civil Rights act

                                                                      23   of 1964, as codified, 42 U.S.C. §§ 2000e to 2000e-17.

                                                                      24          2.        This court has jurisdiction over this matter under 42 U.S.C. § 2000e-2(a) and 28
                                                                      25   U.S.C. § 1331.
                                                                      26
                                                                                  3.        Under 28 U.S.C. § 1391(b), venue in this District is proper because Defendant is a
                                                                      27
                                                                           Nevada limited liability company registered in Nevada with its principal place of business in Las
                                                                      28
                                                                                                                              1                                  KB/86
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                                                                       1   Vegas, Nevada. Therefore, Defendant resides and is subject to personal jurisdiction in the
                                                                       2   District of Nevada.
                                                                       3
                                                                                                                       PARTIES
                                                                       4
                                                                                    4.    Plaintiff is an adult individual residing in the State of Arizona.
                                                                       5
                                                                                    5.    Defendant is a domestic limited liability company registered in the State of
                                                                       6

                                                                       7   Nevada with its principal place of business in Las Vegas, Nevada.

                                                                       8                                     FACTUAL ALLEGATIONS

                                                                       9            6.    Plaintiff reincorporates by reference all preceding paragraphs as if fully set forth
                                                                      10   below.
                                                                      11
                                                                                    7.    Defendant is a large company that employs more than 15 employees and conducts
                                                                      12
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                                                                           business in many states.
                                                                      13
                                                                                    8.    Plaintiff was hired by Defendant on or around June 2013 as a full-time in-house
                                                                      14
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                                          (702) 384-7000




                                                                           sales agent at Los Abrigados Resort and Spa in Sedona, Arizona until June 2016.
                                            LAWYERS




                                                                      15

                                                                      16            9.    Shortly after being hired, Plaintiff began to experience harassment by her male

                                                                      17   manager, Jeff Macaree.
                                                                      18
                                                                                    10.   During Plaintiff’s time at Los Abrigados, Mr. Macaree made repeated comments
                                                                      19
                                                                           to her that she needed to unzip her blouse to show more cleavage and hike up her skirt to get
                                                                      20
                                                                           more sales.
                                                                      21
                                                                                    11.   Plaintiff was also told to ask single male clients to go out with her and told to try
                                                                      22

                                                                      23   and get older clients to marry her—the older the better.

                                                                      24            12.   During this time, there were also occasions where Plaintiff was squeezed and
                                                                      25   smelled, without consent, by Carl Gatti, Defendant’s Regional Vice President of Sales in
                                                                      26
                                                                           Arizona.
                                                                      27
                                                                           ///
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                                                                       1          13.     During 2013, Defendant also endured negative comments regarding her
                                                                       2   boyfriend’s appearance and was told that she was too pretty to be with him.
                                                                       3
                                                                                  14.     Also, after beginning her employment, Plaintiff quickly noticed that the male
                                                                       4
                                                                           sales agents constantly made fun of and belittled female support staff and referred to them as
                                                                       5
                                                                           “stupid bitches,”
                                                                       6

                                                                       7          15.     The harassment and discrimination continued in Plaintiff’s second year employed

                                                                       8   with Defendant.

                                                                       9          16.     On or around June 26, 2014, and without Plaintiff’s permission or consent, John
                                                                      10   Rosenthal, an older sales agent, kissed Plaintiff and told her that they would be together if he
                                                                      11
                                                                           wasn’t married and if Plaintiff wasn’t with her boyfriend.
                                                                      12
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                                                                                  17.     Plaintiff complained of this conduct and was told that she could file a report but
                                                                      13
                                                                           that her focus was in the wrong place and it would affect her sales. Her male managers told her
                                                                      14
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                                                                           that they thought Mr. Rosenthal’s actions were “cute” and discouraged her from filing a formal
                                            LAWYERS




                                                                      15

                                                                      16   complaint.

                                                                      17          18.     Despite the lack of support from her male coworkers and managers, Plaintiff
                                                                      18
                                                                           spoke extensively with an employee in Defendant’s Human Resource Department but ultimately
                                                                      19
                                                                           decided not to file a formal complaint because she was afraid that doing so would hurt her career.
                                                                      20
                                                                           Following this incident Plaintiff felt humiliated, ashamed, and ridiculed by her male coworkers
                                                                      21
                                                                           and managers, which left her doubting herself and wondering if she was just being overly
                                                                      22

                                                                      23   sensitive for feeling violated, dirty, taken advantage of, blindsided, and betrayed.

                                                                      24          19.     Later in 2014, Plaintiff was told to stop worrying about everyone else when she
                                                                      25   tried to address instances of unfair treatment that she was observing.
                                                                      26
                                                                                  20.     By the summer of 2015, due to Plaintiff’s hard work and dedication to her work
                                                                      27
                                                                           she had become one of the top selling agents for Defendant.
                                                                      28
                                                                                                                            3                                     KB/86
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                                                                       1          21.     During 2015, Plaintiff noticed that he requests for time off were being denied,
                                                                       2   while at the same time the requests for time off made by the male sales agents were consistently
                                                                       3
                                                                           granted.
                                                                       4
                                                                                  22.     Plaintiff’s direct manager, Ofer Katz, and her site manager, Sophia Nichols,
                                                                       5
                                                                           blamed these denials for time off on the Regional Vice President of Sales, Ronnie Crawford.
                                                                       6

                                                                       7          23.     The sexism and discrimination Plaintiff endured continued, and during one

                                                                       8   crowded sales event someone, Plaintiff was unable to identify who, grabbed her buttocks.

                                                                       9          24.     During the summer of 2015, Plaintiff stopped eating and lost approximately 30
                                                                      10   pounds and began drinking again after four years of sobriety due to the stress and anxiety
                                                                      11
                                                                           associated with her job, in conjunction with the fact that she was consistently denied any time off
                                                                      12
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                                                                           while male coworkers were granted leave again and again.
                                                                      13
                                                                                  25.     In or around September 2015, James Shosted became the Vice President of the
                                                                      14
                                       LAS VEGAS, NV 89149
                                          (702) 384-7000




                                                                           Los Abrigados Resort and Spa.
                                            LAWYERS




                                                                      15

                                                                      16          26.     Within 30 days of Mr. Shosted promotion to Vice President, he began a targeted

                                                                      17   campaign of discrimination against Plaintiff which started with him removing Plaintiff from her
                                                                      18
                                                                           sales team and manager against her wishes and placing Plaintiff on his own sales team.
                                                                      19
                                                                                  27.     Using his position and authority, Mr. Shosted began providing Plaintiff with less
                                                                      20
                                                                           qualified clients, while simultaneously reducing her number of clients as well. This resulted in
                                                                      21
                                                                           Plaintiff’s loss of her position on the sales “wheel” and made it much more difficult for her to
                                                                      22

                                                                      23   receive new clients and perform her job.

                                                                      24          28.     In or around October 2015, shortly after Mr. Shosted became the Vice President,
                                                                      25   there was an incident where Plaintiff was in significant pain from a chronic illness and requested
                                                                      26
                                                                           permission to go home early since she had no more tours scheduled for that day. Mr. Shosted
                                                                      27
                                                                           denied Plaintiff’s request and then, just moments after Plaintiff’s request a male sales agent
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                                                                       1   approached Mr. Shosted and requested permission to leave early due to a stomach ache. Mr.
                                                                       2   Shosted gave the male sales agent permission to leave and when Plaintiff inquired why the male
                                                                       3
                                                                           agent’s request was granted and hers denied, Mr. Shosted told Plaintiff to mind her own business
                                                                       4
                                                                           and stop asking questions and spreading negativity.
                                                                       5
                                                                                  29.     Plaintiff’s attempts to reach out to Mr. Shosted and discuss his actions were met
                                                                       6

                                                                       7   with angry and aggressive behavior, including intimidation, baseless accusations of a negative

                                                                       8   attitude, blame for the lagging performance of the entire sales center, and threats of termination.

                                                                       9          30.     In or around January or February 2016, Plaintiff had a pre-surgery medical
                                                                      10   appointment and had received prior authorization from Mr. Shosted to leave work early for the
                                                                      11
                                                                           appointment.
                                                                      12
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                                                                                  31.     Despite the fact that he had previously given his approval, on the day of the
                                                                      13
                                                                           appointment, Plaintiff was verbally harassed and berated by Mr. Shosted when she reminded him
                                                                      14
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                                                                           that she would be leaving early that day. Mr. Shosted denied that he had given permission and
                                            LAWYERS




                                                                      15

                                                                      16   told Plaintiff that she was “negative” and that she was “bitching and complaining.”

                                                                      17          32.     Later, on or around May 31, 2016, Mr. Shosted singled out Plaintiff and forced
                                                                      18
                                                                           her to attend a training session not related to her job and which no male agents with Plaintiff’s
                                                                      19
                                                                           job position were required to attend. Being required to attend this unrelated training is a major
                                                                      20
                                                                           insult within Defendant’s company culture and caused significant humiliation to Plaintiff and
                                                                      21
                                                                           degraded her credibility with coworkers and made her question her self-worth.
                                                                      22

                                                                      23          33.     During 2016, Plaintiff also witnessed discrimination against another female sales

                                                                      24   agent by Mr. Shosted. That employee filed a gender discrimination complaint with Defendant’s
                                                                      25   Human Resource Department and was subsequently retaliated against and fired. Observing these
                                                                      26
                                                                           events made Plaintiff fearful to make any complaints and made her decide to stay quiet and just
                                                                      27
                                                                           try to keep doing her job.
                                                                      28
                                                                                                                            5                                   KB/86
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                                                                       1          34.     As 2016 progressed Plaintiff began to be denied opportunities to interact with new
                                                                       2   clients which prevented her from being able to perform her job.
                                                                       3
                                                                                  35.     In or around July 2016, Plaintiff transferred to the Scottsdale Villa Mirage in
                                                                       4
                                                                           Phoenix, Arizona where she worked part-time as an in-house sales agent on the travel team to try
                                                                       5
                                                                           and get away from the oppressive harassment and discrimination she suffered under Mr. Shosted.
                                                                       6

                                                                       7          36.     Three weeks after transferring to Scottsdale Villa Mirage, Plaintiff received

                                                                       8   approval from her new manager, Peter McGowan, and the site Vice President of Sales, Luke

                                                                       9   Lamprey, to transfer to a resort in North Carolina.
                                                                      10          37.     Less than 24 hours before she was supposed to move to North Carolina, Plaintiff
                                                                      11
                                                                           received a call from Susie Heller (Mr. McGowan’s wife and boss) denying the transfer. The
                                                                      12
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                                                                           reason given for the denial was that Plaintiff had not been in her position for the minimum
                                                                      13
                                                                           requirement of six months. However, shortly thereafter, a male coworker was allowed to transfer
                                                                      14
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                                                                           from Las Vegas to Phoenix and then to Florida all within a three month period.
                                            LAWYERS




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                                                                      16          38.     Because Plaintiff was given less than 24 hours’ notice that the decision to approve

                                                                      17   her transfer was being changed, Plaintiff had already paid to break her apartment lease and had
                                                                      18
                                                                           gotten rid of essentially all her household items in preparing to move to North Carolina. Plaintiff
                                                                      19
                                                                           was forced to find a more expensive apartment and replace her household goods due to the last
                                                                      20
                                                                           minute change or heart on her transfer.
                                                                      21
                                                                                  39.     Following this denial of transfer, Mr. McGowan began denying Plaintiff
                                                                      22

                                                                      23   opportunities to receive clients, and instead gave many of those client interactions to Mr.

                                                                      24   Shosted’s sister. Plaintiff’s managers continually ignored her and refused to provide her with
                                                                      25   opportunities to interact with clients and make sales.
                                                                      26
                                                                                  40.     During Plaintiff’s time on the traveling team, and following the unexpected denial
                                                                      27
                                                                           of her transfer, Plaintiff became depressed because she was always traveling to different hotels
                                                                      28
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                                                                       1   but only allowed to sit around all day and was not given any actual tours. This was very hard on
                                                                       2   Plaintiff emotionally and physically, and in addition to the depression Plaintiff gained significant
                                                                       3
                                                                           weight because of the emotional and physical stress she was subjected to.
                                                                       4
                                                                                  41.     Additionally, in or around October, during a discussion with Mr. McGowan,
                                                                       5
                                                                           Plaintiff was told to shut-up because she was a woman.
                                                                       6

                                                                       7          42.     In or around May 2017, another of Plaintiff’s female coworkers filed a gender

                                                                       8   discrimination complaint with Defendant.

                                                                       9          43.     Upon information and belief, Defendant performed no investigation into this
                                                                      10   complaint and responded that they found no wrongdoing.
                                                                      11
                                                                                  44.     In or around March 2017, Plaintiff was transferred back to the Los Abrigados
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                                                                           location in Sedona into the Quality Assurance department.
                                                                      13
                                                                                  45.     Just a couple months later, in or around June or July 2017, Plaintiff was
                                                                      14
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                                                                           transferred, without a choice in the matter, to the Sedona Summit location, Mr. Shosted’s home
                                            LAWYERS




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                                                                      16   site. Plaintiff was told not to worry about Mr. Shosted because he did not have jurisdiction over

                                                                      17   the Quality Assurance department.
                                                                      18
                                                                                  46.     Unfortunately, although not surprisingly, once Plaintiff was transferred to Mr.
                                                                      19
                                                                           Shosted’s location, he began to routinely single out Plaintiff and interfere with her job functions.
                                                                      20
                                                                                  47.     Upon information and belief, Mr. Shosted intentionally prevented Plaintiff’s
                                                                      21
                                                                           female boss, Jenna Ekwall, from providing Plaintiff with the assistance she needed by excluding
                                                                      22

                                                                      23   Ms. Ekwall from meetings and communications and ignoring her emails.

                                                                      24          48.     Mr. Shosted made it a point to reprimand Plaintiff in front of other employees,
                                                                      25   spread misinformation related to Plaintiff’s job skills and qualifications, and repeatedly
                                                                      26
                                                                           threatened her job and belittled her.
                                                                      27
                                                                           ///
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                                                                       1          49.     Additionally, Mr. Shosted demanded that Plaintiff talk to him and only him, or
                                                                       2   she would lose her job.
                                                                       3
                                                                                  50.     These forced interactions with Mr. Shosted re-established the fear she had felt
                                                                       4
                                                                           before when she was working around him and forced her to interact daily with her primary
                                                                       5
                                                                           abuser, which caused her significant emotional and physical distress.
                                                                       6

                                                                       7          51.     After being transferred to Mr. Shosted’s location, Plaintiff was also subjected to

                                                                       8   increased harassment and discrimination by the sales agents under Mr. Shosted.

                                                                       9          52.     In particular, Joe Markham, a sales agent at the Sedona Summit location would
                                                                      10   regularly make inappropriate and harassing comments to Plaintiff. On multiple occasions he
                                                                      11
                                                                           asked her to feel his biceps, he would flex his buttocks and ask Plaintiff to comment on or touch
                                                                      12
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                                                                           them, and he often asked her to go out with him and come to his house for wine and sex. Plaintiff
                                                                      13
                                                                           always refused these unwanted advances and made it clear that such propositions were unwanted
                                                                      14
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                                                                           and unwelcome.
                                            LAWYERS




                                                                      15

                                                                      16          53.     On another occasion, in or around November 2017, Mr. Markham, asked Plaintiff

                                                                      17   if she wanted to see his penis. Plaintiff told him that she did not want to see his penis, but just
                                                                      18
                                                                           minutes later he put his phone right in front of Plaintiff’s face and showed her a picture of his
                                                                      19
                                                                           genitals. He then asked Plaintiff to show him a picture of her genitalia and said she owed him a
                                                                      20
                                                                           picture since he had shown her one.
                                                                      21
                                                                                  54.     Plaintiff talked with other female employees who informed her that this behavior
                                                                      22

                                                                      23   from Mr. Markham was a regular occurrence and that he did it all the time.

                                                                      24          55.     During her time at Sedona Summit, Plaintiff was regularly referred to as “kiddo”
                                                                      25   by the male sales agents, and Mr. Shosted often referred to her as “hysterical.”
                                                                      26
                                                                           ///
                                                                      27
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                                                                       1          56.     Towards the end of 2017 or beginning of 2018, Plaintiff learned of an incident in
                                                                       2   which Mr. Markham pushed and belittled a male supervisor who was standing up for an older
                                                                       3
                                                                           female employee.
                                                                       4
                                                                                  57.     Also during 2017, Plaintiff was made to clean urine and feces out of the men’s
                                                                       5
                                                                           restroom because she wasn’t busy, the male managers and sales agents weren’t going to do it,
                                                                       6

                                                                       7   and because she was a woman and cleaning the bathroom was “women’s work.” Similar

                                                                       8   comments were made a second time when Plaintiff was forced to clean the restrooms again.

                                                                       9          58.     Cleaning the restrooms was not a part of Plaintiff’s job description in the Quality
                                                                      10   Assurance department, but she was forced to clean them because she was a woman.
                                                                      11
                                                                                  59.     Towards the end of 2017 Plaintiff’s retention numbers were lower than the
                                                                      12
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                                                                           company expected, in part due to the hostile work environment Plaintiff faced at work and the
                                                                      13
                                                                           continual harassment and discrimination interfering with her ability to do her job.
                                                                      14
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                                                                                  60.     Ms. Ekwall informed Plaintiff that she would not be allowed to have certain
                                            LAWYERS




                                                                      15

                                                                      16   interactions with clients and would only be allowed to do frontline deals during December.

                                                                      17          61.     In or around December 2017, Plaintiff had a meeting with Ms. Ekwall and Mr.
                                                                      18
                                                                           Shosted regarding this 30 day warning limited suspension period. Mr. Shosted hijacked the
                                                                      19
                                                                           meeting and demanded, upon threat of being fired, that Plaintiff speak to no one except him
                                                                      20
                                                                           about why she was being suspended. This isolated her from her coworkers and severely damages
                                                                      21
                                                                           her reputation among the sales agents and other employees. During this time Plaintiff was
                                                                      22

                                                                      23   replaced by an inexperienced male employee.

                                                                      24          62.     Plaintiff was forced to sit in on every tour but refused to allow her to participate
                                                                      25   and earn any money from the tours.
                                                                      26
                                                                           ///
                                                                      27
                                                                           ///
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                                                                       1            63.     Just a few months before, a male employee in Plaintiff’s department who had
                                                                       2    worse retention numbers than Plaintiff only received a two day suspension and was not forced to
                                                                       3
                                                                            sit in on every tour, as was Plaintiff.
                                                                       4
                                                                                    64.     Then, on or around February 22, 2018, Plaintiff noticed that Mr. Markham was
                                                                       5
                                                                            not informing a customer of all the essential terms of the contract. As part of her role in the
                                                                       6

                                                                       7    Quality Assurance department Plaintiff approached Mr. Markham to request that he correct the

                                                                       8    violation.

                                                                       9            65.     At this point, Mr. Markham became upset, put his arm around Plaintiff, and
                                                                      10    pulled her close, squeezing her against his body. He brought his lips to her ear and said,
                                                                      11
                                                                            “Sweetheart, I am the number one salesperson here, I’m worth millions to this company, I have
                                                                      12
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                                                                            been doing this for years and I don’t need your help, don’t tell me how to do my job.”
                                                                      13
                                                                                    66.     Plaintiff pulled away and asked Mr. Markham to stop belittling her and to act
                                                                      14
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                                                                            professionally. She then attempted to explain that she didn’t make the rules that sales agents
                                            LAWYERS




                                                                      15

                                                                      16    were supposed to follow but that it was her job to make sure the rules were followed.

                                                                      17            67.     Mr. Markham responded by calling Plaintiff “sweetie” and telling her not to tell
                                                                      18
                                                                            him how to do his job.
                                                                      19
                                                                                    68.     A male manager, Reuben Philo witnessed this exchange and did nothing to
                                                                      20
                                                                            prevent Mr. Markham’s inappropriate harassment.
                                                                      21
                                                                                    69.     Following this disturbing event, Plaintiff approached Mr. Shosted to request help
                                                                      22

                                                                      23    in correcting the violation of standard operating procedure. However, rather than provide help or

                                                                      24    advice, Mr. Shosted berated and humiliated Plaintiff and threatened her job because she did not
                                                                      25    agree to cover up or ignore the violation by Mr. Markham.
                                                                      26
                                                                            ///
                                                                      27
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                                                                       1           70.      These actions by Mr. Shosted were done in front of Plaintiff’s male coworker,
                                                                       2    Dave Lamparter. After berating and belittling Plaintiff, and in front of Plaintiff, Mr. Shosted
                                                                       3
                                                                            apologized to Mr. Lamparter for the fact that he had to witness the reprimand.
                                                                       4
                                                                                   71.      Upon information and belief, Mr. Shosted then provided an inaccurate report of
                                                                       5
                                                                            the incident to Tony Kowal, the Regional Vice President of Quality Assurance.
                                                                       6

                                                                       7           72.      In a meeting with Mr. Kowal and Ms. Ekwall regarding the event, it was

                                                                       8    confirmed to Plaintiff that there have been other complaints about Mr. Shosted. Mr. Kowal and

                                                                       9    Ms. Ekwall also confirmed that Mr. Shosted has rage toward Plaintiff.
                                                                      10           73.      Also during this conversation, Mr. Kowal and Ms. Ekwall agreed that there is a
                                                                      11
                                                                            culture of harassment and sexism and that Mr. Shosted used fear and intimidation to lead. They
                                                                      12
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                                                                            also confirmed that they were aware of the culture but stated that they could do nothing to help
                                                                      13
                                                                            Plaintiff and that the culture is normal for the company.
                                                                      14
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                                                                                   74.      Ms. Ekwall also confirmed that she had been shown pictures of Mr. Markham’s
                                            LAWYERS




                                                                      15

                                                                      16    genitalia as well and that she had been subjected to his advances as well. Mr. Ekwall told

                                                                      17    Plaintiff the key to getting through it was to “keep her head down” and “do her fucking job.”
                                                                      18
                                                                                   75.      As a part of Plaintiff’s job responsibilities, there were also certain requirements
                                                                      19
                                                                            that had to be met to make sure that contracts complied with Automatic Clearing House
                                                                      20
                                                                            requirements.
                                                                      21
                                                                                   76.      In order to prevent customers from defaulting on their new contracts, Defendant
                                                                      22

                                                                      23    offered automatic withdrawals from the customers’ bank account or credit card through a service

                                                                      24    called Automatic Clearing House (ACH).
                                                                      25           77.      Part of Plaintiff’s responsibilities within Quality Assurance was to keep customer
                                                                      26
                                                                            retention high and contract cancellations low. The pay that Plaintiff received was heavily
                                                                      27
                                                                            dependent on her retention numbers.
                                                                      28
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                                                                       1           78.     During 2017, Defendant issued a company directive to encourage sales agents to
                                                                       2    get customers to accept ACH in their contracts.
                                                                       3
                                                                                   79.     On three different occasions, in or around June 2017, November 2017, and
                                                                       4
                                                                            February 2018, Plaintiff approached Mr. Shosted to get the status of certain contracts she was
                                                                       5
                                                                            working on corrected, in accordance with the company directive regarding ACH. However, Mr.
                                                                       6

                                                                       7    Shosted refused to provide Plaintiff with any assistance which prevented her from doing her job

                                                                       8    and imperiled her job because the ACH metric was a crucial factor in evaluating her job

                                                                       9    performance.
                                                                      10           80.     Mr. Shosted had previously promised to ensure that all deals were ACH
                                                                      11
                                                                            compliant. However, Mr. Shosted went back on his word and refused to help ensure that
                                                                      12
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                                                                            Plaintiff’s deals were ACH compliant. This cause Plaintiff to lose bonuses associated with her
                                                                      13
                                                                            job performance and was a specific, targeted effort by Mr. Shosted to prevent Plaintiff from
                                                                      14
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                                          (702) 384-7000




                                                                            being able to perform her job.
                                            LAWYERS




                                                                      15

                                                                      16           81.     Upon information and belief, Defendant has received numerous and consistent

                                                                      17    complaints regarding Mr. Shosted’s sexist attitude and behavior, and his consistent and
                                                                      18
                                                                            continued harassment and discrimination.
                                                                      19
                                                                                   82.     During her employment, Plaintiff was consistently subject to communications
                                                                      20
                                                                            from male managers that was rude, berating, dismissive, and annoyed. Additionally, Plaintiff as
                                                                      21
                                                                            consistently subject to hostility, rudeness, flirting, invitations for dates, and other unwanted
                                                                      22

                                                                      23    sexual advances from male coworkers.

                                                                      24           83.     Finally, in March 2018, Plaintiff had endured all the discrimination harassment
                                                                      25    she could handle and had to resign from her employment with Defendant to escape the
                                                                      26
                                                                            discrimination and harassment.
                                                                      27
                                                                                   84.     Her last date of employment with Defendant was March 15, 2018.
                                                                      28
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                                                                       1             85.   On August 25, 2018, Plaintiff filed a Charge of Discrimination with the Equal
                                                                       2    Employment Opportunity Commission (EEOC) regarding the persistent discrimination and
                                                                       3
                                                                            harassment she had endured during her employment with Defendant.
                                                                       4
                                                                                     86.   Plaintiff received a Notice of Right to Sue from the EEOC on September 26,
                                                                       5
                                                                            2018.
                                                                       6

                                                                       7                                  FIRST CLAIM FOR RELIEF
                                                                                             (Sexual Harassment in Violation of 42 U.S.C. § 2000e-2(a))
                                                                       8
                                                                                     87.   Plaintiff reincorporates by reference all preceding paragraphs as if fully set forth
                                                                       9
                                                                            below.
                                                                      10
                                                                                     88.   Plaintiff is a female who was employed by Defendant.
                                                                      11

                                                                      12             89.   During her employment with Defendant, Plaintiff was subjected to unwelcome,
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                                                                      13    offensive, and harassing discriminatory conduct that was directed at her by her managers and
                                                                      14    coworkers, and this conduct was based upon and directed at Plaintiff because of her gender.
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                                                                      15
                                                                                     90.   Plaintiff complained of this conduct to supervisors and Defendant’s Human
                                                                      16
                                                                            Resource Department, but was informed that filing a formal complaint would hurt her career and
                                                                      17
                                                                            there was nothing that could be done.
                                                                      18

                                                                      19             91.   Defendant failed to take any corrective action during Plaintiff’s employment to

                                                                      20    prevent or stop this discrimination and harassment.

                                                                      21             92.   The discrimination and harassment was so severe and pervasive that it caused
                                                                      22    Plaintiff to suffer physical and mental harm. It unreasonably interfered with Plaintiff’s physical
                                                                      23
                                                                            and mental health, as well as her work performance in such a way and to such a degree that it
                                                                      24
                                                                            created an intimidating, hostile work environment.
                                                                      25
                                                                                     93.   Plaintiff was forced to endure unwanted sexual advances, comments on her sexual
                                                                      26

                                                                      27    performance, exposure to photos of male coworker’s genitalia, requests for photos of her

                                                                      28    genitalia, and many degrading comments based on her gender and/or sex.
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                                                                       1             94.    The conditions created by Defendant were so intolerable and unreasonable that
                                                                       2    Plaintiff was forced to resign in order to escape the severe and pervasive sexual harassment and
                                                                       3
                                                                            discriminatory culture that exists within Defendant.
                                                                       4
                                                                                     95.    As a direct and proximate result of Defendant’s actions and/or inaction, Plaintiff
                                                                       5
                                                                            has suffered actual damages in an amount to be proven at trial.
                                                                       6

                                                                       7             96.    Plaintiff has been forced to retain an attorney to pursue these claims and is

                                                                       8    therefore entitled to attorney’s fees, plus actual costs incurred, pursuant to 42 U.S.C. § 2000e-5.

                                                                       9
                                                                                                          SECOND CLAIM FOR RELIEF
                                                                      10                      (Sex Discrimination in Violation of 42 U.S.C. § 2000e-2(a))
                                                                      11             97.    Plaintiff reincorporates by reference all preceding paragraphs as if fully set forth
                                                                      12
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                                                                            below.
                                                                      13
                                                                                     98.    Plaintiff is a female who was employed by Defendant.
                                                                      14
                                       LAS VEGAS, NV 89149




                                                                                     99.    Plaintiff was a high performing sales agent and dedicated employee of
                                          (702) 384-7000
                                            LAWYERS




                                                                      15

                                                                      16    Defendant’s Quality Assurance department throughout her tenure employed by Defendant.

                                                                      17             100.   Plaintiff was repeatedly subjected to discrimination on the basis of her gender

                                                                      18    and/or sex.
                                                                      19             101.   Throughout her employment with Defendant, Plaintiff’s managers denied her
                                                                      20
                                                                            certain benefits of employment, including but not limited to bonuses, necessary tools,
                                                                      21
                                                                            interactions with clients, and support needed to perform her job, because she is a woman.
                                                                      22
                                                                                     102.   Statements made by Plaintiff’s managers and other coworkers show a general
                                                                      23

                                                                      24    culture of sexism that prevented Plaintiff from succeeding in her job.

                                                                      25             103.   Some of Plaintiff’s managers directly targeted her because she was a woman and

                                                                      26    prevented her from doing her job and receiving the pay that comes from meeting certain goals
                                                                      27
                                                                            and performance standards.
                                                                      28
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                                                                       1            104.   During this time, male employees in similar positions as Plaintiff were given
                                                                       2    opportunities that were denied to Plaintiff.
                                                                       3
                                                                                    105.   This discrimination has caused Plaintiff to miss out on certain bonuses, job
                                                                       4
                                                                            assignments, training, and/or other benefits associated with her employment.
                                                                       5
                                                                                    106.   The conditions created by Defendant were so intolerable and unreasonable that
                                                                       6

                                                                       7    Plaintiff was forced to resign in order to escape the severe and pervasive sexual harassment and

                                                                       8    discriminatory culture that exists within Defendant.

                                                                       9            107.   As a result of the discrimination and Defendant’s failure to take any action to
                                                                      10    prevent or remedy it, Plaintiff has also suffered humiliation, emotional distress, and physical
                                                                      11
                                                                            harm.
                                                                      12
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                                                                                    108.   As a direct and proximate result of Defendant’s actions and/or inaction, Plaintiff
                                                                      13
                                                                            has suffered actual damages in an amount to be proven at trial.
                                                                      14
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                                                                                    109.   Plaintiff has been forced to retain an attorney to pursue these claims and is
                                            LAWYERS




                                                                      15

                                                                      16    therefore entitled to attorney’s fees, plus actual costs incurred, pursuant to 42 U.S.C. § 2000e-5.

                                                                      17                                         PRAYER FOR RELIEF
                                                                      18
                                                                                    WHEREFORE, Plaintiff prays for relief as follows:
                                                                      19
                                                                                    1.     For compensatory damages including lost wages, past and future and/or
                                                                      20
                                                                            impairment of power to earn money; and physical pain, emotional distress and humiliation, past
                                                                      21
                                                                            and future;
                                                                      22

                                                                      23            2.     For punitive damages to punish Defendant for its willful, wanton, oppressive,

                                                                      24    malicious, and/or grossly negligent conduct;
                                                                      25            3.     Trial by jury on all issues so triable;
                                                                      26
                                                                                    4.     Reasonable attorney’s fees and costs expended herein;
                                                                      27
                                                                                    5.     Pre-judgement and post-judgment interest; and
                                                                      28
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                                                                       1              6.        Any and all other relief to which she may be entitled.
                                                                       2
                                                                                      DATED this 21st day of December, 2018.
                                                                       3

                                                                       4                                                              ALVERSON TAYLOR & SANDERS

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                                                                       6
                                                                                                                                      KURT R. BONDS, ESQ.
                                                                       7                                                              Nevada Bar No. 6228
                                                                                                                                      6605 GRAND MONTECITO PARKWAY
                                                                       8                                                              SUITE 200
                                                                       9                                                              LAS VEGAS, NEVADA 89149
                                                                                                                                      (702) 384-7000
                                                                      10                                                              efile@alversontaylor.com
                                                                                                                                      Attorney for Plaintiff
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